            Case 2:07-cr-00122-WBS Document 80 Filed 05/14/08 Page 1 of 3


 1   DINA L. SANTOS, Bar #204200
     428 J STREET
 2   Sacramento, California 95814
     Telephone: (916) 447-0160
 3   Fax: (916) 447-2988
 4
 5   Attorney for Defendant
     MAXSIM KARASENI
 6
 7
 8                        IN THE UNITED STATES DISTRICT COURT
 9                       FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA,       )      CR. NO. S-07-122 EJG
                                     )
13                   Plaintiff,      )      ORDER
                                     )      TO CONTINUE STATUS AND EXCLUDE
14        v.                         )      TIME
                                     )
15   PHI VAY BUI,                    )      DATE: July 11, 2007
     DAVID NGUYEN,                   )      TIME: 10:00 a.m.
16   VYACHESLAV ROTAR,               )      COURT: Hon. Edward J. Garcia
     and,                            )
17   MAKSIM KARASENI                 )
                                     )
18                   Defendants.     )
                                     )
19   _______________________________ )
                                     )
20
          Defendants, PHI VAY BUI, through Christopher Haydn-Myer, Attorney
21
     At Law, DAVID NGUYEN, through his attorney of record, Hayes Gable,
22
     VYACHESLAV ROTAR, through his attorney of record, Joseph Welch, MAKSIM
23
     KARASENI, through his attorney of record, Dina Santos, and the United
24
     States of America, through Assistant U.S. Attorney Phillip A. Talbert,
25
     agree as follows:
26
          It is hereby stipulated that the status conference currently set
27
     for May 9, 2008, be vacated and a new status conference be scheduled on
28
            Case 2:07-cr-00122-WBS Document 80 Filed 05/14/08 Page 2 of 3


 1   July 11, 2008 at 10:00 a.m., to allow the defense to continue in
 2   preparation of a defense, defense investigation and negotiations with
 3   the prosecution in an attempts to reach a plea agreement.
 4        It is further stipulated and agreed between the parties that the
 5   time under the Speedy Trial Act should be excluded from today’s date to
 6   July 11, 2008, under Local Code T4, Title 18, United States Code
 7   section 3161(h)(8)(B)(iv), to give the defendants time to further
 8   review the discovery, conduct investigation, and continue in
 9   negotiations with the prosecution to attempt to reach a plea agreement.
10        All counsel have consulted and have agreed to the new dates and
11   have authorized Ms. Santos to sign on their behalf.
12                                          Respectfully submitted,
13
14   Dated: May 7, 2008                     /S/ Dina L. Santos
                                            Dina L. Santos
15                                          Attorney for Defendant
                                            MAKSIM KARASENI
16
     Dated: May 7, 2008                     /S/ Hayes Gable
17                                          HAYES GABLE
                                            Attorney for Defendant
18                                          DAVID NGUYEN
19
     Dated: May 7, 2008                     /S/ Joseph Welch
20                                          Joseph Welch
                                            Attorney for Defendant
21                                          VYACHESLAV ROTAR
22
     Dated: May 7, 2008                     /s/ Christopher Haydn-Myer
23                                          CHRISTOPHER HAYDN-MYER
                                            Attorney for Defendant
24                                          PHI VAY BUI
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26
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28                                           2
            Case 2:07-cr-00122-WBS Document 80 Filed 05/14/08 Page 3 of 3


 1   DATED: May 7, 200                        McGREGOR W. SCOTT
                                              United States Attorney
 2
                                              /S/ Phillip A. Talbert
 3                                            PHILLIP A. TALBERT
                                              Assistant U.S. Attorney
 4                                            Attorney for Plaintiff
 5
 6
 7
 8
 9
                                      ORDER
10
     FOR GOOD CAUSE SHOWN, IT IS SO ORDERED that the status conference
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     currently set for May 9,2008, be vacated and a new status conference be
12
     scheduled on July 11, 2008 at 10:00 a.m., and the time under the Speedy
13
     Trial Act should be excluded from today’s date to July 11, 2008, under
14
     Local Code T4, Title 18, United States Code section 3161(h)(8)(B)(iv).
15
16
     DATED: May 8, 2008                       /s/ Edward J. Garcia
17
                                              HON. EDWARD J. GARCIA
18                                            United States District Court Judge
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